      Case 7:20-cv-00425 Document 185 Filed on 10/12/21 in TXSD Page 1 of 2
                                                                                                   United States District Court
                                                                                                     Southern District of Texas

                                                                                                        ENTERED
                                                                                                      October 12, 2021
                                UNITED STATES DISTRICT COURT
                                                                                                     Nathan Ochsner, Clerk
                                 SOUTHERN DISTRICT OF TEXAS
                                      MCALLEN DIVISION

UNITED STATES OF AMERICA,                                §
                                                         §
        Plaintiff,                                       §
                                                         §
VS.                                                      §
                                                         § CIVIL ACTION NO. 7:20-cv-00425
4.587 ACRES OF LAND, more or less, in                    §
STARR COUNTY, TEXAS; and                                 §
FLORENTINO LUERA,                                        §
                                                         §
        Defendants.                                      §

                                                    ORDER

        The Court now considers the parties’ “Stipulation of Revestment.”1 Plaintiff United States

commenced this eminent domain case under Public Law 107-2172 on December 18, 2020, to take

fee simple title to Tract RGV-RGC-1007, which is a 4.587-acre parcel of land out of the recorded

Parcel S-14-Q and designated by metes and bounds as described in the United States’ Schedules

C and D.3 On January 13, 2021, Plaintiff United States deposited $21,874 in the registry of the

Court as estimated just compensation pursuant to Federal Rule of Civil Procedure 71.1(j)(1) and

40 U.S.C. § 3114(b).4

        On July 20, 2021, the Court noted that it “has been bedeviled by the need to substitute and

dismiss numerous other Defendants” who may not have an interest in the case and ordered

Defendant Florentino Luera to move forward on his adverse possession crossclaim. 5 Defendant


1 Dkt. No. 184.
2 Act of Aug. 21, 2002, ch. 31, Pub. L. No. 107-217, 116 Stat. 1062 (codified at 40 U.S.C. §§ 3111–18); see Act of
Feb. 26, 1931, ch. 307, Pub. L. No. 71-736, 46 Stat. 1421 (codifying 40 U.S.C. § 258a, now 40 U.S.C. § 3114);
United States v. Dow, 357 U.S. 17, 22 (1958) (calling these provisions the “Declaration of Taking Act”).
3 Dkt. No. 1-1 at 5–12.
4 Dkt. No. 11; see Dkt. No. 1-1 at 17 (estimating $21,874 to be just compensation).
5 Dkt. No. 166.




1/2
      Case 7:20-cv-00425 Document 185 Filed on 10/12/21 in TXSD Page 2 of 2




Luera did so,6 and, on September 13th, the Court agreed with Plaintiff and Defendant Luera that

Defendant Luera was entitled to a grant of summary judgment that he was “the rightful and sole

owner of Parcel S-14-Q.”7 The instant stipulation by the United States and Defendant Luera to

revest all property in Defendant Luera followed soon after. 8

        In the stipulation, the parties move the Court to return the entire $21,874 deposited to “F

& A Officer, USAED, Fort Worth.”9 As the Court recently discovered, this cryptic recipient is the

“Finance and Accounting Officer [of the] U.S. Army Engineer District” and is an agent of the

United States.10 Although the Court would ordinarily ensure that some sum compensate Defendant

Luera for the United States’ temporary interference with his property, 11 neither party requests any

compensation be paid to Defendant. Nonetheless, the Court finds good cause in the parties’ request

that the Court revest Defendant’s property and return the United States’ deposit. The Court

therefore GRANTS the parties’ stipulation12 subject to the terms that appear in the Court’s fina l

judgment. Upon entry of the final judgment, this case will terminate.

        IT IS SO ORDERED.

        DONE at McAllen, Texas, this 12th day of October 2021.


                                                          ___________________________________
                                                                        Micaela Alvarez
                                                                  United States District Judge




6 Dkt. No. 178.
7 Dkt. No. 183 at 8.
8 Dkt. No. 184.
9 Id. at 2–3, ¶ 8.
10 United States v. 2.6433 Acres of Land, more or less, in Hidalgo Cnty., No. 7:08-cv-302, Dkt. No. 173 at 2 (S.D.

Tex. Sept. 21, 2021) (Alvarez, J.).
11 See FED. R. CIV. P. 71.1(i)(1)(C); Ark. Game & Fish Comm'n v. United States, 568 U.S. 23, 33 (2012).
12 Dkt. No. 184.




2/2
